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 7
 8
 9                            UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12
13                                               Case No. 07-5944 SC
   In re: CATHODE RAY TUBE (CRT)
14 ANTITRUST LITIGATION                          MDL No. 1917
15
                                                 STIPULATION AND [PROPOSED]
16 This Document Relates to:                     ORDER APPROVING PAYMENT OF
                                                 EXPENSES FROM SETTLEMENT
17 INDIRECT PURCHASER ACTION                     FUND
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     STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND, MDL
                                         No. 1917
           Case 3:07-cv-05944-JST Document 2618 Filed 06/12/14 Page 2 of 4



 1          WHEREAS, Indirect Purchaser Plaintiffs (“IPPs”) and Defendants LG Electronics, Inc., LG

 2 Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd, (collectively, “LG”) entered into
 3 a settlement agreement on May 28, 2013 by which LG agreed to pay IPPs Twenty Five Million
 4 Dollars ($25,000,000) in return for a release of claims;
 5          WHEREAS, the settlement agreement also provides that:

 6                  [A]fter final approval, Class Counsel may apply to use any amount paid by LG to
                    pay the past or future expenses of this litigation.
 7
 8 LG Settlement Agreement, ¶ 22(a);
 9          WHEREAS, the Court granted preliminary approval of the LG settlement on December 9,

10 2013 (Dkt. No. 2248);
11          WHEREAS, in its Order Granting Preliminary Approval of Class Action Settlement With

12 LG, the Court directed IPPs’ Lead Counsel to provide notice to class members of the terms of the
13 settlement, including Lead Counsel’s request to withdraw up to $5 million from the Settlement
14 Fund to pay expenses incurred or to be incurred in this litigation;
15          WHEREAS, said notice was given to Class Members as directed by the Court;

16          WHEREAS, the published notice provided that at the Final Approval Hearing: “The Court

17 will also consider Class Counsel’s request that $5 million from the Settlement Fund be set aside to
18 pay for expenses incurred or to be incurred in prosecuting this case.”;
19          WHEREAS, after the Fairness Hearing, the Court entered its Order Granting Final Approval

20 of Settlement With LG (Dkt. No. 2542);
21          WHEREAS, the Order Granting Final Approval of Settlement With LG is now final;

22          WHEREAS, IPPs’ Lead Counsel seeks to withdraw $500,000 from the Escrow Fund at this

23 time to pay for expenses incurred or to be incurred in this litigation;
24          WHEREAS, LG has no objection to IPPs’ Lead Counsel withdrawing $500,000 from the

25 Escrow Fund to pay for expenses incurred or to be incurred in this litigation; and
26          WHEREAS, the Court has most recently approved the withdrawal of $500,000 by the Direct

27 Purchaser Plaintiffs from their settlement with Philips to be used to pay expenses in their case (Dkt
28 No. 1507).

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        STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                       MDL No. 1917
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 1         IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

 2 undersigned Plaintiffs and Defendants, as follows:
 3         Lead Counsel for the Indirect Purchaser Plaintiffs may withdraw $500,000 from the LG

 4 Settlement Fund Escrow Account to pay expenses incurred or to be incurred in this litigation. The
 5 balance of the settlement fund shall remain in the escrow account, to be distributed upon further
 6 Court Order. Indirect Purchaser Plaintiffs’ Lead Counsel shall provide the Court with an accounting
 7 of all expenses paid.
 8         The undersigned parties jointly and respectfully request that the Court enter this stipulation

 9 as an order.
10
11 Dated: June 12, 2014                  By:    /s/ Mario N. Alioto
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                                                Lead Counsel for the Indirect
17                                              Purchaser Plaintiffs
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     Dated: June 12, 2014                By:    /s/ Hojoon Hwang
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23
                                                Attorneys for Defendants LG Electronics, Inc.; LG
24                                              Electronics USA, Inc.; and LG Electronics Taiwan
25                                              Taipei Co., Ltd

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        STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                       MDL No. 1917
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 1        IT IS SO ORDERED.

 2
 3 Dated: _______________,
           June 12         2014               _________________________________
 4                                            Hon. Samuel A. Conti
                                              UNITED STATES DISTRICT JUDGE
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      STIPULATION AND [PROPOSED] ORDER APPROVING EXPENSES FROM SETTLEMENT FUND,
                                      MDL No. 1917
